              Case 23-02716-MM7                   Filed 09/08/23           Entered 09/08/23 10:39:10                   Doc 1        Pg. 1 of 6
                                                                                                                                                 9/08/23 10:35AM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Modern Fab, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3146 Tiger Run Ct., #113
                                  Carlsbad, CA 92010
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       astrofab.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 1
              Case 23-02716-MM7                       Filed 09/08/23           Entered 09/08/23 10:39:10                         Doc 1        Pg. 2 of 6
                                                                                                                                                       9/08/23 10:35AM

Debtor    Modern Fab, LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4238

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 2
               Case 23-02716-MM7                          Filed 09/08/23            Entered 09/08/23 10:39:10                      Doc 1        Pg. 3 of 6
                                                                                                                                                                9/08/23 10:35AM

Debtor    Modern Fab, LLC                                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
             Case 23-02716-MM7         Filed 09/08/23         Entered 09/08/23 10:39:10                    Doc 1    Pg. 4 of 6
                                                                                                                                 9/08/23 10:35AM

Debtor   Modern Fab, LLC                                                          Case number (if known)
         Name

                           $50,001 - $100,000                         $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million            More than $50 billion




Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 4
              Case 23-02716-MM7                  Filed 09/08/23             Entered 09/08/23 10:39:10                       Doc 1      Pg. 5 of 6
                                                                                                                                                     9/08/23 10:35AM

Debtor    Modern Fab, LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 8, 2023
                                                  MM / DD / YYYY


                             X /s/ Aria Noorazar                                                          Aria Noorazar
                                 Signature of authorized representative of debtor                         Printed name

                                         LLC Member and Person Most
                                 Title   Knowledgeable




18. Signature of attorney    X /s/ Jeffrey D. Larkin                                                       Date September 8, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey D. Larkin 228684
                                 Printed name

                                 The Larkin Law Firm
                                 Firm name

                                 5927 Balfour Ct., Ste. 202
                                 Carlsbad, CA 92008
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     760-316-6050                  Email address      larkinfirm@gmail.com

                                 228684 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
    Case 23-02716-MM7   Filed 09/08/23   Entered 09/08/23 10:39:10   Doc 1   Pg. 6 of 6



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                        Kimball, Tirey & St. John, LLP
                        7676 Hazard Center Drive
                        Ste. 900-C
                        San Diego, CA 92108



                        Palomar Melrose, LP
                        949 S. Coast Dr., Ste. 600
                        Costa Mesa, CA 92626



                        PEAC Connect Solutions
                        300 Fellowship Rd.
                        Mount Laurel, NJ 08054



                        Perkins Cole
                        1201 Third Ave., Ste. 4900
                        Seattle, WA 98101-3099



                        Regus Office Space
                        15305 N. Dallas Pkwy.
                        Ste. 400
                        Addison, TX 75001



                        RJC Industrial Co. Ltd.
                        2306/2308 S. Fairview St.
                        Santa Ana, CA 92704



                        San Diego Innovation Center
                        7310 Miramar Rd., Ste. 500
                        San Diego, CA 92126



                        Shenzhen Zealfull Technology
                        Co. Ltd.
                        No Available U.S. Address



                        Zetar Industry Co. Limited
                        No Available U.S. Address
